Case 2:18-cv-11273-MCA-LDW Document 2101 Filed 07/13/22 Page 1 of 1 PageID: 61333




                                                                                                           THOMAS P. SCRIVO
                                                                                                           tscrivo@oslaw.com



                                                       July 13, 2022

   VIA ECF
   All Counsel

         Re:      Occidental Chemical Corp. v. 21st Century Fox America, Inc., et al.
                  Civil Action No. 18-11273

  Dear Counsel:

         Please allow this correspondence to confirm that there will be a monthly conference on July
  20, 2022, at 1:00 p.m. EST. The conference will occur virtually via the Zoom platform, and counsel
  may access the same by using the following instructions:

  Meeting ID: 876 6755 0007
  Password:       033604
  Link: https://us06web.zoom.us/j/87667550007?pwd=QnJpNDV6bis2NVdHQ3dJSjc5QVBwUT09

         A court reporter has been reserved, and a transcript will be available following the
  conference. Please email your appearance to Nancy Bendish at nancy@bendish.com.

         Any party that wishes to propose an agenda item(s) for discussion at the July conference
  shall notify me, with a copy to all parties, at least three (3) business days prior to the meeting.
  Additionally, any party that wishes to respond to or address a proposed agenda item(s) may do so in
  writing, with a copy to all parties, at least three (3) business days prior to the meeting.

                                                     Very truly yours,
                                                     O’TOOLE SCRIVO, LLC

                                                    /s/ Thomas P. Scrivo

                                                    Thomas P. Scrivo


  cc:    Hon. Leda D. Wettre, U.S.M.J. (via ECF)




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